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    2                                            LINK TO 87
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                               UNITED STATES DISTRICT COURT
    8
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    9
   10
      ETHAN MARGALITH, an individual,                Case No. 2:20-cv-03781 RGK (PJWx)
   11 and LISA MARGALITH, an individual;
                                                     JUDGMENT OF FORECLOSURE
   12                 Plaintiffs,                    AND ORDER OF SALE AND
                                                     DEFICIENCY JUDGMENT
   13        v.
   14 JP MORGAN CHASE BANK, N.A.;
      MTC FINANCIAL dba TRUSTEE                      The Hon. R. Gary Klausner
   15 CORPS; WEST H&A, LLC;
      WARRANTED EFFECTUATION OF
   16 SUBSTITUTE TRANSFEREE, INC.
      dba W.E.S.T., INC.; MICHAEL C.
   17 JACKSON, an individual; PATRICK
      SORIA, an individual, and DOES 1
   18 through 50 inclusive.
   19                 Defendants.
   20
        JPMORGAN CHASE BANK, N.A.,
   21
                      Cross-Complainant,
   22
             v.
   23
      ETHAN MARGALITH, an individual,
   24 and LISA MARGALITH, an individual;
      CREST PROMONTORY COMMON
   25 AREA ASSOCIATION, an
      unincorporated association;
   26 MOUNTAINGATE OPEN SPACE
      MAINTENANCE ASSOCIATION, an
   27 unincorporated association;
      EMACIATION CAPITAL, LLC, a
   28 California Limited Liability Company;
                                                 1
                                                         Case No.: 2:20-cv-03781 RGK (PJWx)
                  JUDGMENT OF FORECLOSURE AND ORDER OF SALE AND DEFICIENCY JUDGMENT
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    1 INTERNAL REVENUE SERVICE, a
      government entity; MOUNTAINS
    2 RECREATIONS AND
      CONSERVATION AUTHORITY, a
    3 government entity; EXPRESS
      WORKING CAPITAL, LLC, a
    4 California Limited Liability Company;
      ASSURED LENDERS SERVICES,
    5 INC.; and ROES 51 through 70,
      inclusive.
    6
                   Cross-Defendants.
    7
    8
    9
                On April 6, 2021, the Court granted Cross-Complainant JPMorgan Chase
   10
        Bank, N.A.’s (“Chase”) Motion for Summary Judgment or in the alternative Motion
   11
        for Summary Adjudication as to Chase’s claims for judicial foreclosure and
   12
        deficiency judgment, and dismissed Chase’s claim for breach of contract.
   13
                IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT
   14
                1.       Now due and owing to Chase from Cross-Defendant Ethan Margalith
   15
        are the following sums under the Adjustable Rate Note executed on or about
   16
        December 22, 2006 (the “Note”), the Deed of Trust recorded on January 3, 2007, in
   17
        the Los Angeles County Recorder’s Office as Instrument Number 20070010900 (the
   18
        “DOT”), and the Loan Modification Agreement between Ethan Margalith and Chase
   19
        effective December 1, 2011 (the “2011 Loan Mod”).
   20
                         a.    Principal, interest, escrow and other advances, and other fees and
   21
        charges in the amount of $3,876,979.47 up through and including February 26,
   22
        2021;
   23
                         b.    Attorney’s fees as determined by motion;
   24
                         c.    Chase’s cost of suit in the amount of $5,477.74
   25
                for a total Judgment in the amount of $3,882,457.21.
   26
                These debts and the Judgment amount are liens upon the real property
   27
        described below pursuant to the DOT.
   28
                                                     2
                                                            Case No.: 2:20-cv-03781 RGK (PJWx)
                     JUDGMENT OF FORECLOSURE AND ORDER OF SALE AND DEFICIENCY JUDGMENT
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    1         2.       The real property described, or as much of it as may be necessary, shall
    2 be sold in the manner prescribed by law by the levying officer of Los Angeles
    3 County, California, on proper application for issuance of a Writ of Sale to the
    4 levying officer. Any party to this action may be a purchaser at the sale.
    5         3.       From the proceeds of the sale, the levying officer shall deduct the
    6 expenses for the levy and sale and shall then pay Chase the sums adjudged due
    7 together with interest at the rate of 10% per annum from the date of this Judgment.
    8         4.       If any surplus remains after the making of those payments first to
    9 Chase, it shall be paid by the levying officer as follows, pursuant to stipulation of
   10 the parties:
   11                  a.    Second, to Internal Revenue Service’s federal tax liens filed on
   12 April 15, 2016;
   13                  b.    Third, to Emaciation Capital, LLC’s lien;
   14                  c.    Fourth, to Express Working Capital, LLC’s lien;
   15                  d.    Fifth, to Mountaingate Open Space Maintenance Association’s
   16 lien;
   17                  e.    Sixth, to Internal Revenue Service’s federal tax lien filed on
   18 October 10, 2019;
   19                  f.    Seventh, to Ethan and Lisa Margalith.
   20         5.       Cross-Defendant Ethan Margalith is personally liable for payment of
   21 the entire sum due under the Note and secured by the DOT, and a deficiency
   22 judgment may be ordered against him following proceedings prescribed by law.
   23 This Court retains jurisdiction to determine the amount of the deficiency, if any, and
   24 to render a money judgment on proper application.
   25         6.       A deficiency judgment not being waived or prohibited, the property
   26 shall be sold subject to the right of redemption as provided for in California Code of
   27 Civil Procedure §§ 729.010, et. seq.
   28         7.       From and after delivery of the deed by the levying officer to the
                                                    3
                                                          Case No.: 2:20-cv-03781 RGK (PJWx)
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    1 purchaser at the sale, Ethan Margalith, all Cross-Defendants, and all persons
    2 claiming under them or having liens subsequent to the DOT on the real property
    3 described below (the “Property”), and their personal representatives, are forever
    4 barred and foreclosed from all equity or redemption in, and claim to, the Property
    5 and every part of it.
    6        8.       The Property that is the subject of this Judgment is located in Los
    7 Angeles County, California, and is commonly known as 12675 Mountain Crest
    8 Lane, Los Angeles, California 90049, is legally described as follows:
    9        LOT 4 OF TRACT 42481, IN THE CITY OF LOS ANGELES, COUNTY
   10        OF LOS ANGELES STATE OF CALIFORNIA, AS PER MAP RECORDED
   11        IN BOOK 1018 PAGES 72 TO 77 INCLUSIVE OF MAPS, IN THE OFFICE
   12        OF THE COUNTY RECORDER OF SAID COUNTY.
   13
   14        EXCEPT ALL OIL, GAS, MINERALS AND HYDROCARBON
   15        SUBSTANCES BELOW THE DEPTH OF 500 FEET FROM THE
   16        SURFACE OF SAID LAND WITHOUT THE RIGHT OF SURFACE OF
   17        ENTRY THROUGH SAID 500 FEET, AS SET FORTH IN DEED FROM
   18        BARCLAY HOLLANDER CORPORATION, A CORPORATION,
   19        FORMERLY BARCLAY HOLLANDER CURCI, INC., A
   20        CORPORATION, IN DEED RECORDED DECEMBER 28, 1979 AS
   21        INSTRUMENT NO. XX-XXXXXXX.
   22        APN: 4493-030-006
   23        IT IS SO ORDERED, ADJUDGED AND DECREED.
   24
   25 DATED: November 17, 2021                               __________________________
   26                                                        The Hon. R. Gary Klausner
   27
   28
                                                   4
                                                         Case No.: 2:20-cv-03781 RGK (PJWx)
                  JUDGMENT OF FORECLOSURE AND ORDER OF SALE AND DEFICIENCY JUDGMENT
